            Case 5:17-cv-01213-DAE Document 1 Filed 11/29/17 Page 1 of 5



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

HOSSEIN & LADAN MANESH                              §
     Plaintiff,                                     §
                                                    §
v.                                                  §        CIVIL ACTION NO. 5:17-cv-1213
                                                    §
NATIONWIDE GENERAL                                  §
INSURANCE COMPANY                                   §
     Defendant.                                     §

                                   NOTICE OF REMOVAL

       Defendant Nationwide General Insurance Company (“Defendant”), through undersigned

counsel and pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, files this Notice of Removal of the

lawsuit captioned Hossein & Ladan Manesh v. Nationwide General Insurance Company; Cause

No. 2017CI19304, in the 45th Judicial District of Bexar County, Texas.

                                             I.
                                        BACKGROUND

       1.      Plaintiffs Hossein & Ladan Manesh (hereinafter “Plaintiffs”) initiated the present

action by filing their Original Petition in Cause No. 2017CI19304, in the 45th Judicial District of

Bexar County, Texas on October 6, 2017 (the “State Court Action”). See Plaintiffs’ Original

Petition, attached as Exhibit A.

       2.      Defendant appeared and answered on November 27, 2017, asserting a general

denial to the claims and allegations made in Plaintiffs’ Original Petition. See Defendant’s Original

Answer, attached as Exhibit B.

       3.      Pursuant to 28 USC § 1446(a) all a copy of all process, pleadings, and orders served

upon Defendant in the State Court Action are incorporated in Exhibit A.
             Case 5:17-cv-01213-DAE Document 1 Filed 11/29/17 Page 2 of 5



        4.      Pursuant to 28 U.S.C. § 1446(d), promptly after filing this Notice of Removal,

Defendant will give written notice of the removal to Plaintiffs through their attorney of record,

and to the clerk of the 45th Judicial District of Bexar County, Texas.

        5.      Pursuant to 28 USC §§ 1446(b)(1) and 1446(c)(1) this Notice of Removal has been

timely filed within 30 days of service on Defendant of Plaintiffs’ Original Petition and less than

one year after the commencement of this action.

                                                II.
                                           JURISDICTION

        6.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1332, and the matter

is removable to this Court pursuant to 28 U.S.C. § 1441(a) because there is complete diversity of

citizenship between the properly joined parties and the amount in controversy exceeds $75,000

exclusive of interest and costs.

A.      Diversity of Parties

        7.      Plaintiffs are domiciled in Bexar County, Texas. Pursuant to 28 U.S.C. § 1332(a),

therefore, Plaintiffs are citizens of the State of Texas.

        8.      Nationwide General Insurance Company is organized under the laws of Ohio and

maintains its principal place of business in Columbus, Ohio. Pursuant to 28 U.S.C. § 1332(c)(1),

therefore, Nationwide is a citizen of the State of Ohio.

        9.      Accordingly, there is complete diversity between the parties pursuant to 28 U.S.C. §

1332(a).

B.      Amount in Controversy

        10.     Plaintiffs’ Original Petition states that Plaintiffs seek “less than $75,000, exclusive of

interest and costs.” See Plaintiffs’ Original Petition, Exhibit A, ¶ XIV. However, Texas law does




                                                    2
              Case 5:17-cv-01213-DAE Document 1 Filed 11/29/17 Page 3 of 5



not permit a plaintiff to plead a specific amount of damages. 1 Rule 47 of the Texas Rules of Civil

Procedure requires an initial pleading to elect from among a pre-defined set of ranges of damages;

the rule does not permit a plaintiff to plead that the amount in controversy does not exceed $75,000 at

this time.2 Plaintiffs’ Original Petition fails to comply with Rule 47 of the Texas Rules of Civil

Procedure. A bare assertion in a pleading that damages do not exceed $75,000, without more, is not

binding on Plaintiff and does not determine the amount in controversy for purposes of determining

federal jurisdiction.3

        11.       Courts may look past the pleadings to analyze a plaintiff’s pre-suit demand as

well as all categories of damages sought in the lawsuit, including punitive damages. 4 Here, this

analysis plainly sets the amount in controversy past the $75,000 threshold for this Court’s

jurisdiction. 5

        12.       Plaintiff’s pre-suit demand claims economic damages of $206,876.00, 18%

penalty interest of $37,237.68, and attorney’s fees of $68,269.08. 6. 7 The amount of Plaintiffs’

demand does not end the inquiry, however, as penalties and exemplary damages are also



1
    Tex. R. Civ. P. 47(b)-(c).
2
    See Plaintiff’s Original Petition, Rec. Doc 1-1; see also De Aguilar v. Boeing Co., 47 F.3d 1404, 1410 (5th Cir.
    1995); Ford v. U. Parcel Serv., Inc., Civ. No. 3:14-CV-1872-D, 2014 WL 4105965 at *2 (N. D. Tex. Aug. 21,
    2014) (Fitzwater, J.) (There is no provision in Rule 47 permitting a plaintiff to plead for damages “not to exceed
    $74,000”), Chavez v. State Farm Lloyds, Civ. No. 7:15-CV-487, 2016 WL 641634 at *2 (S.D. Tex. Feb. 18,
    2016) (Alvarez, J.) (Texas law simply does not permit a plaintiff to plead that he or she seeks damages not to
    exceed $75,000).
3
    Ford v. U. Parcel Serv., Inc., 2014 WL 4105965 at *4.

4
    See Villarreal v. State Farm Lloyds, Civ. No. 7:15-cv-292, 2015 WL 5838876 at *2 (S.D. Tex. Oct. 7, 2015)
    (Alvarez, J.).
5
    See Exhibit C, Plaintiff’s demand letter dated December 27, 2016; See also Molina v. Wal-Mart Stores Texas,
    L.P., 535 F. Supp. 2d 805, 807-08 (W.D. Tex. 2008) (Martinez, J.) (considering pre-suit demand to establish
    amount in controversy).
6
    See Id.
7
    See Exhibit C, Plaintiff’s demand letter dated December 27, 2016.



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             Case 5:17-cv-01213-DAE Document 1 Filed 11/29/17 Page 4 of 5



included as part of the amount in controversy. 8 Plaintiffs’ Original Petition alleges knowing

conduct as a predicate for additional damages under the Texas Insurance Code, as well as an

entitlement to exemplary damages. 9                 Statutory additional damages could treble Plaintiff’s

economic damage claims, 10 and exemplary damages could be as high as at least $200,000. 11 In

addition, Plaintiffs also seek prejudgment and post-judgment interest, 18% penalty interest, and

attorney’s fees. 12 Penalties, exemplary damages, and attorneys’ fees are included as part of the

amount in controversy. 13

         13.       The amount in controversy plainly exceeds $75,000, exclusive of interest and

costs. See Exhibit A & C. Accordingly, the amount in controversy requirement of 28 U.S.C. §

1332(b) is satisfied.

                                                       III.
                                                   CONCLUSION

         14.       Removal of this action under 28 U.S.C. § 1441(a) is proper as the district courts of

the United States have original jurisdiction over the matter pursuant to 28 U.S.C. § 1332, and as all

requirements for removal under 28 U.S.C. § 1446 have been meet.

         15.       WHEREFORE, Defendant Nationwide General Insurance Company hereby

provides notice that this action is duly removed.




8
     St. Paul Reinsurance Co. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998).
9
     Exhibit A, Plaintiff’s Original Petition, at ¶ VII.
10
     TEX. INS. CODE § 541.152.
11
     TEX. CIV. PRAC. & REM. CODE ANN. § 41.008(b); see also Villareal, 2015 WL 5838876 at *2 (noting that where
     a plaintiff seeks exemplary damages, “the judicial threshold requirement of $75,000 could be easily met[.]”).
12
     See Exhibit A.
13
     See H&D Tire & Automotive-Hardware, Inc. v. Pitney Bowes Inc., 227 F.3d 326, 330 (5th Cir. 2000); see also
     St. Paul Reinsurance Co. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998).



                                                           4
          Case 5:17-cv-01213-DAE Document 1 Filed 11/29/17 Page 5 of 5



                                            Respectfully submitted,

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                                            ATTORNEYS FOR DEFENDANT
                                            NATIONWIDE GENERAL INSURANCE
                                            COMPANY


                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served upon the
following counsel of record via certified mail, return receipt requested on this 29th day of
November 2017 to:

       Rudy Wattiez                                               9414 7266 9904 2061 9342 20
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                                            /s/ Patrick M. Kemp
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                                               5
